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[USAO# 2012R00441/MET]

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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UNITED STATES OF AMERICA : Criminal No. jh - GAVE LSbW /
Vv. : 21 U.S.C §§ 841(a) & (b) (1) (C),
: 18 U.S.C. §§ 922(g) (1),
DAVIONE WARREN ~ ; 924(c) (1) (A), 924(d), & 2,

>: & 28 U.S.C. § 2461

INDICTMENT

‘The Grand Jury in and for the District of New Jersey,

sitting at Newark, charges:
COUNT ONE

(Possession with Intent to Distribute Heroin)

On or about January 12, 2012, in Essex County, in the
District of New Jersey, and elsewhere, defendant,

DAVIONE WARREN,
did knowingly and intentionally possess with intent to distribute
a mixture and substance containing a detectable amount of heroin,
a Schedule I controlled substance.
In violation of Title 21, United States Code,

Sections 841(a) (1) and (b)(1)(C), and Title 18, United States

Code, Section 2.

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COUNT TWO

(Possession of a Firearm in Furtherance of a
Drug Trafficking Crime)

On or about January 12, 2012, in Essex County, in the

District of New Jersey, and elsewhere, defendant,
DAVIONE WARREN,

in furtherance of a drug trafficking crime for which he may be
prosecuted in a court of the United States, namely the possession
with intent to distribute a mixture and substance containing a
detectable amount of heroin, a schedule I controlled substance,
did knowingly possess three firearms, namely: a loaded 9 mm
Jimenez Arms Inc. semi-automatic pistol, bearing serial # 169671;
a loaded .25 caliber Raven Arms semi-automatic pistol, bearing
serial # 1751759; and a loaded .357 Wesson Arms revolver, bearing
serial 4 250961.

In violation of Title 18, United States Code, Section

924(c) (1) (A) and Section 2.
 

 

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COUNT _THREE

(Possession of a Weapon by a Convicted Felon)

On or about January 12, 2012, in Essex County, in the
District of New Jersey, and elsewhere, defendant,

DAVIONE WARREN,

having been convicted of a crime punishable by imprisonment for a’
term exceeding one year in The Superior Court of New Jersey, Law
Division, Essex County, New Jersey, did knowingly possess in and
affecting commerce three firearms, namely: a loaded 9 mm Jimenez

Arms Inc. semi-automatic pistol, bearing serial # 169671; a

' loaded .25 caliber Raven Arms semi-automatic pistol, bearing

serial # 1751759; and a loaded .357 Wesson Arms revolver, bearing
serial # 250961.
In violation of Title 18, United States Code, Section

922(g) (1).
 

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FORFEITURE ALLEGATION

1. The allegations contained in Counts Two and Three
of this Indictment are incorporated by reference as though set
forth in full herein for the purpose of alleging forfeitures
pursuant to Title 18, United States Code, Section 924 (d) (1),
Title 21, United States Code, Section 853, and Title 28, United
States Code, Section 2461.

4. Pursuant to Title 18,.United States Code, Section
924(d) and Title 28, United States Code, Section 2461, upon
conviction of the offense in violation of Title 18, United States
Code, Sections 922(g) and 924(c) set forth in Counts Two and
Three of this Indictment, the defendant,

DAVIONE WARREN,

shall forfeit to the United States any firearms and ammunition
involved in or used in the commission of that offense, including
the following:

(A) 9 mm Jimenez Arms Inc. semi-automatic pistol,

bearing serial # 169671 and nine R.P. 9 mm caliber
Luger bullets;

(B) .25 caliber Raven Arms semi-automatic pistol,
bearing serial # 1751759, and seven .25 automatic
bullets; and
 

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(C) .357 Wesson Arms revolver, bearing serial
# 250961, loaded with five S&B .357 magnum bullets
and one CBC .38 SPL bullet.

All pursuant to Title 18, United States Code, Section

924(d) (1) and Title 28 United States Code, Section 2461(C).

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PAUL J. FYPHMAN
United States Attorney

  
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